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                  IN THE UNITED STATES DISTRICT COURT
                                                                  ~. sSOf.JLA '
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


UNITED STATES OF AMERICA,
                                            CR 11-36-M-DWM
                         Plaintiff,

            vs.                             FINDINGS & RECOMMENDATION
                                            CONCERNING PLEA


RYAN GIFFORD BLINDHEIM,

                         Defendant.


      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of conspiracy to manufacture

marijuana in violation of21 U.S.C. § 846 (Count I) and one count of money

laundering in violation of 18 U.S.C. § 1957 (Count XIX) as set forth in the

Indictment. The Defendant has also agreed to the forfeiture allegations advanced

under 18 U.S.C. § 982(a)(1). In exchange for Defendant's plea, the United States

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has agreed to dismiss Counts II-XVIII and XX-XXII of the Indictment.

      Afte~ examining the Defendant under oath, I have made the following


determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,

      2. That the Defendant is aware of the nature of the charges against him and

consequences of pleading guilty to the charges,

      3. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty, and

      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offenses charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that he fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of Counts I

and XIX of the Indictment, and that sentence be imposed. I further recommend

that Counts II-XVIII and XX-XXII of the Indictment be dismissed.

      This report is forwarded with the recommendation that the Court defer

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a decision regarding acceptance until the Court has reviewed the Plea

Agreement and the presentence report.

     DATED this 30th day of August, 2011.




                                   J r miah C. Lynch
                                      ited States Magistrate Judge




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